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 9   CITY AND COUNTY OF SAN FRANCISCO

10

11
                                       UNITED STATES DISTRICT COURT
12
                                      NORTHERN DISTRICT OF CALIFORNIA
13

14    SELINA KEENE, MELODY FOUNTILA,                 Case No. 4:22-cv-01587-JSW
      MARK MCCLURE,
15                                                   ADMINISTRATIVE MOTION TO CONSIDER
              Plaintiffs,                            WHETHER CASES SHOULD BE RELATED
16
              vs.                                    (Civil L.R. 3-12(b) and 7-11)
17
      CITY and COUNTY OF SAN FRANCISCO;              Judge:                Hon. Jeffrey S. White
18    LONDON BREED, Mayor of San Francisco in
      her official capacity; CAROL ISEN, Human       Trial Date:           None set.
19    Resources Director, City and County of San
      Francisco, in her official capacity; DOES 1-
20    100,

21            Defendants.

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      Admin. Motion to Relate Cases                                          n:\labor\li2022\220836\01689308.docx
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 1                                             INTRODUCTION

 2           The City and County of San Francisco (the “City”) respectfully asks the Court to consider

 3   whether the above-captioned action (the “Keene Action”) is related to two later filed actions:

 4   Rodriguez v. City and County of San Francisco, N.D. Cal. Case No. 3:23-cv-03139 (the “Rodriguez

 5   Action”); and Yancey v. London Breed, et al., N.D. Cal. Case No. 4:22-cv-09045-DMR (the “Yancey

 6   Action”).

 7           The Court previously related seven other actions to the Keene Action: Gozum v. City and

 8   County of San Francisco, No. 4:22-cv-03975-JSW (the “Gozum Action”); Guardado, et al. v. City and

 9   County of San Francisco, No. 4:22-cv-04319-JSW (the “Guardado Action”); Shaheed, et al. v. City

10   and County of San Francisco, No. 4:22-cv-06013-JSW (the “Shaheed Action”); Debrunner, et al. v.

11   City and County of San Francisco, et al. (Debrunner Action), No. 4:22-cv-07455-JSW; Cook v. City

12   and County of San Francisco, No. 4:22-cv-07645-JSW (the “Cook Action”); Sanders v. San Francisco

13   Public Library, No. 23-cv-00211-JSW (the “Sanders Action”); and Monegas v. City and County of

14   San Francisco Department of Public Health (the “Monegas Action”) (collectively “Related Vaccine

15   Actions”). The recently filed Rodriguez and Yancey Actions bear a substantially similar relationship to

16   Keene as the Related Vaccine Actions and likewise should be related.

17           Both the Rodriguez and Yancey Actions were brought by former City employees who allege

18   they were terminated for failure to comply with the City’s COVID-19 vaccination policy. See

19   Declaration of Adam M. Shapiro (“Shapiro Decl.”) Ex. 1 (Rodriguez Complaint); Shapiro Decl. Ex. 2

20   (Yancey Complaint). Like the plaintiffs in the Keene Action and many of the other Related Vaccine

21   Actions — including Gozum and Guardado — Rodriguez asserts claims under the California Fair

22   Employment and Housing Act (“FEHA”) and Title VII of the Civil Rights Act of 1964 (“Title VII”)

23   based on the City’s alleged failure to grant a religious exemption from the City’s vaccination policy.

24   Shapiro Decl. Ex. 1. Yancey is representing herself pro per and her pleading is not the model of

25   clarity. See Shapiro Decl. Ex. 2. However, it appears, that Yancey too asserts FEHA 1 and Title VII

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              Yancey erroneously refers to FEHA as the “California Fair Housing Employment and
28   housing Act.”
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 1   claims on similar grounds. Id. Additionally, like the Plaintiffs in Guardado, Debrunner, and Sanders,

 2   Yancey asserts a First Amendment claim. Id.

 3           The Rodriguez Action was filed on April 20, 2023 in San Francisco Superior Court. Shapiro

 4   Decl. ¶ 3. On June 26, 2023, the City filed an answer and removed the case to this Court pursuant to

 5   28 U.S.C. § 1441. Id. The Yancey Action was filed on December 21, 2022, but service was not

 6   attempted until on or around June 12, 2023. 2 Id. ¶ 5. On July 5, 2023, Magistrate Judge Ryu granted

 7   Defendants’ Administrative Motion to Enlarge Time for Responding to Plaintiff’s Complaint,

 8   extending the deadline to file a responsive pleading to August 10, 2023. Id.

 9           On May 12, 2023, the City filed a motion to consolidate the Keene Action and the Related

10   Vaccine Actions. Shapiro Decl. ¶ 6. The motion is now fully briefed and pending before this Court. Id.

11                                                DISCUSSION

12           Cases are related if:

13                   (1) The actions concern substantially the same parties, property, transaction, or
                     event; and
14                   (2) It appears likely that there will be an unduly burdensome duplication of
                     labor and expense or conflicting results if the cases are conducted before
15                   different Judges.
16   N.D. Cal. Local Civil Rule 3-12(a). Whenever a party believes an action filed in this district may be
17   “related to an action which is or was pending in this District …, the party must promptly file in the
18   lowest-numbered case an Administrative Motion to Consider Whether Cases Should be Related.” Id.
19   Rule 3-12(b).
20           Here, the Rodriguez Action and Yancey Action concern substantially the same parties as the
21   Keene Action and the Related Vaccine Actions, as the City, its constituent departments, and/or City
22   employees are parties in to each of the actions. The plaintiff in the Yancey Action erroneously sued
23   Mayor London Breed and a number of other current or former City employees instead of her employer
24   (the City), even though supervisory employees are not subject to liability for alleged discrimination
25   under either FEHA or Title VII. Holly D. v. California Institute of Technology, 339 F.3d 1158, 1179
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             2
27             Defendants in the Yancey Action contend service was improper, since Yancey did not attempt
     to personally serve any of the Defendants, despite the fact that she appears to be suing all of them in
28   their personal capacities.
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 1   (9th Cir. 2003) (Title VII); Reno v. Baird, 18 Cal.4th 640, 644-645 (1998) (FEHA). Moreover,

 2   Yancey’s complaint does not allege any facts as to the individual defendants.

 3           The plaintiffs in Keene, Rodriguez, Yancey and the other Related Vaccine Actions are all

 4   current or former City employees who are challenging the City’s vaccine mandate claiming that the

 5   City failed to provide accommodations. If certified, the putative class in the Guardado Action could

 6   potentially include the plaintiffs in the Rodriguez and Yancey Actions. The Rodriguez and Yancey

 7   Actions, like Keene and the other Related Vaccine Actions concern substantially the same events, as

 8   they arise out of challenges to the City’s vaccine mandate, including the validity of the policy, both

 9   facially and as applied, would necessarily affect the plaintiffs across all actions.

10           It is also “likely that there will be an unduly burdensome duplication of labor and expense or

11   conflicting results if the [Rodriguez and Yancey Actions were] conducted before [a] different Judge”

12   than the other Related Vaccine Actions. N.D. Cal. Local Civil Rule 3-12(a)(2). The Keene Action and

13   the seven other Related Vaccine Actions, including the Guardado Putative Class Action, challenge the

14   same policy and are all pending before the Honorable Jeffrey S. White. In the interest of judicial

15   efficiency, and to avoid conflicting decisions, the Rodriguez and Yancey Actions too should be heard

16   before Judge White.

17                                                CONCLUSION

18           Because the Rodriguez and Yancey Actions are related to Keene and the Related Vaccine

19   Actions, the Court should assert its case management authority over the Rodriguez and Yancey

20   Actions, find that they are related and reassign the cases to the Honorable Jeffrey S. White.

21   Dated: July 11, 2023                           DAVID CHIU
                                                    City Attorney
22                                                  LAUREN E. WOOD
                                                    ADAM M. SHAPIRO
23                                                  Deputy City Attorneys
24

25                                              By: /s/ Adam M. Shapiro
                                                   ADAM M. SHAPIRO
26
                                                    Attorneys for Defendant
27                                                  CITY AND COUNTY OF SAN FRANCISCO
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